Case 2:03-cv-02509-BBD-dkv Document 22 Filed 05/13/05 Page 1 of 3 Page|D 47

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN D|VlSlON

 

GREGORY and L|LL|ETTE SM|TH;
and BURLEAN and JOHN
LEATHERWOOD, on behalf of
themselves and all other persons
similarly situated,

Plaintiffs,
vs.

U.S. BANK, NAT|ONAL
ASSOCIATION; NORTH DAKOTA;
GRMT N|ORTGAGE LOAN TRUST
2001-1; and J P N|ORGAN CHASE
BANK, individual|y, and as
representatives of a class of
assignees,

Defendants.

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No. 03-2509-DIV

 

ORDER OF DISMISSAL WITH PREJUDICE AS TO J P MORGAN CHASE BANK

 

Pursuant to the parties’ stipulation advising the Court that all matters in controversy and
dispute have been settled, compromised and resolved, and stipulating that the complaint and all
causes of action against defendant J P Morgan Chase Bank be dismissed With prejudice, the Court
hereby dismisses this action With prejudice as to the said defendant, noting that the action has been

previously dismissed with prejudice as to the other two defendants Any court costs are hereby

assessed to defendantl

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Bern` e B. Dona]
United States District Court .}`udge

 

May ]8, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

